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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                             CR 15–16–M–DLC–2

                      Plaintiff,
                                                              ORDER
        vs.

 JACQUELINE DIANE ERGER,

                      Defendant.


      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on December 4, 2015. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Jacqueline Diane Erger’s

guilty plea after Erger appeared before him pursuant to Federal Rule of Criminal

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Procedure 11, and entered a plea of guilty to one count of possession with intent to

distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1)(Count III), as

set forth in the Indictment. In exchange for Defendant’s plea, the United States

has agreed to dismiss Counts I and II of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

93), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Jacqueline Diane Erger’s motion to

change plea (Doc. 70) is GRANTED and Jacqueline Diane Erger is adjudged

guilty as charged in Count III of the Indictment.

      DATED this 21st day of December, 2015.




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